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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                        GREAT FALLS DIVISION


RHETT CRANTZ, Individually, as              CV 14-56-GF-BMM-JTJ
Personal Representative of the Estate
of Venus Crantz/ and as Guardian of
Marina Crantz, Marley Crantz,               FINDINGS OF FACT,
McKenzy Crantz, and Maisen Crantz,          CONCLUSIONS OF LAW AND
                                            ORDER
             Plaintiff,
     vs.

UNITED STATES OF AMERICA,

             Defendant.

      This matter came before the Court for trial without a jury, the Honorable

Brian Morris presiding, on October 11 and 12, 2016. The plaintiff, Rhett Crantz,

was represented by Timothy M. Bechtold and Kristine M. Akland. The defendant,

United States of America, was represented by Assistant United States Attorney,

Timothy J. Cavan.

      Witnesses were sworn and testified, and certain exhibits were offered and

received into evidence. From the evidence presented, the Court makes the

following:

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                             I. FINDINGS OF FACT:

A.    JURISDICTION AND VENUE

      1. This is a negligence action brought by the plaintiff pursuant to the

Federal Tort Claims Act (FTCA), 28 U.S.C. § 2671, et seq. The plaintiff seeks to

recover damages from the United States based on medical care provided to Venus

Crantz (Venus) by health care providers employed by the Department of Health

and Human Services, Indian Health Service (IHS). The plaintiff alleges that IHS

providers negligently treated Venus when she presented to the emergency

department of the Fort Belknap Hospital, resulting in her death. (Doc. 1).

      2. At the time this action was filed, the plaintiff was a resident of the State

of Montana, and lived in Blaine County, Montana. The alleged acts and omissions

which gave rise to this claim also occurred in Blaine County, Montana.

      3. The plaintiff submitted administrative tort claims with the IHS on or

about January 31, 2014. The plaintiff filed the present action on August 18, 2014,

more than six months after submitting his administrative claim, without a final

determination by the agency.

B.    BACKGROUND

      4. Venus was born in 1979 in Harlem, Montana, and died on December 9,

2013. She was an enrolled member of the Assiniboine and Gros Ventre Tribes,

and lived in Harlem on the Fort Belknap Indian Reservation. She received the

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majority of her medical care during her life through the IHS Fort Belknap medical

facility in Harlem.

      5. Venus married Rhett Crantz in 2004, and they had four children together:

Marina Crantz, born in 1996; Marley Crantz, born in 2002; Mackenzy Crantz,

born in 2006; and Maisen Crantz, born in 2013.

      6. Venus attended high school, and later obtained her certification as a

certified nursing assistant. She was employed part-time as a nursing assistant by

Sweet Memorial Nursing Home in Chinook, Montana at the time of her death.

(Deposition of Joni Myhre). She had been employed by Sweet Memorial since

May 7, 2013.

C.    MEDICAL HISTORY

      7. Venus’s medical history is significant for ongoing bouts of asthma.

Venus was first diagnosed with asthma in 2008. Venus presented to the

emergency department (ED) for acute asthma attacks at least 10 times in the years

that followed. Her difficulties with asthma accelerated sharply in the last 1.5 years

of her life, with approximately 13 contacts with physicians and emergency visits

occurring in 2013 alone.

      8. Venus’s asthma also progressively limited her personal and work

activities. A walk around the block with her young child could lead to coughing




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spells that would require Venus to return home. She also missed several days of

work because of her asthma.

D.    DECEMBER 9, 2013 ASTHMA ATTACK

      9. Venus was driving with her husband in Harlem on December 9, 2013,

when she began to experience respiratory difficulties. She returned home for a

nebulizer treatment at approximately 7:00 p.m. Venus had three home nebulizer

treatments, but they were not effective.

      10. Venus remained at home for approximately 1 to 1.5 hours before

William Abieta, her adopted brother, took her to the hospital for treatment. It took

approximately 3.5 to 4 minutes to travel from Venus’s residence to the hospital.

Abieta dropped Venus off at the ED entrance.

      11. Venus barely could breathe by the time that she arrived at the ED. She

walked up to the nurse’s station window in the emergency room and mouthed “I

can’t breathe.”

      12. Two nurses, Kathleen Olver and Shauna Gilbert-Azure, and an IHS

physician, Amy Kroeger, M.D, staffed the Fort Belknap Hospital Emergency

Department that night. Dr. Kroeger is a licensed physician. She also attended a

residency program in emergency medicine at Washington University from 2008 to

2011. She did not complete the residency program, however, and lacks board

certification in any specialty.

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      13. Nurse Olver staffed the nurse’s station window in the ED when Venus

arrived. Dr. Kroeger also observed Venus approach. Nurse Olver and Dr. Kroeger

promptly escorted Venus to a critical care patient room. Dr. Kroeger also leaned

into another patient room, and told a second IHS nurse, Shauna Gilbert-Azure, that

her assistance would be needed. When Gilbert-Azure responded, Dr. Kroeger sent

her to retrieve additional respiratory medications, and to summon additional

assistance from EMTs.

      14. Nurse Olver attempted to record the timing of events She testified that

she looked at a clock in the critical care room when she started an IV for Venus

and recorded the time at 8:20 p.m. She estimated the timing of events for the

medical record, before and after 8:20 p.m., based upon the time each intervention

typically takes to accomplish.

      15. According to Nurse Olver’s tracking, Venus presented to the nurses’

station window at approximately 8:16 p.m. Within one minute, medical staff

escorted Venus back to the critical care room and started an Albuterol nebulizer.

Venus’s oxygen saturation level increased after the treatment from 87% to 95%.

      16. Medical staff started a second nebulizer treatment with racemic

epinephrine at 8:19 p.m. Medical staff started an IV line by 8:20 p.m., and they

administered magnesium sulfate at 8:22 p.m.




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      17. Dr. Kroeger continued to monitor and assess Venus’s respirations,

breath sounds, and pulse. Dr. Kroeger detected that Venus began to deteriorate

rapidly as the administration of magnesium sulfate was completed. Venus’s pulse

became “thready,” her heart rate increased, and her breath sounds became less

audible.

      18. Venus collapsed at approximately 8:23 p.m. Dr. Kroeger continued to

assess her cardiac and respiratory status. Dr. Kroeger determined that Venus was in

respiratory arrest. She was also unable to detect a pulse, and determined that

Venus had gone into cardiac arrest almost simultaneously with her respiratory

arrest. Venus continued to display pulseless electric activity (“PEA”). PEA

describes cardiac electric activity that is too unordered to be considered a pulse.

      19. Dr. Kroeger initiated cardiopulmonary resuscitation (CPR) after

Venus’s collapse. Medical staff immediately started ventilation with the use of a

bag valve mask. They also initiated chest compressions.

      20. A bag valve mask is a breathing device. A padded mask fits over the

patient’s mouth and provides a seal around the mouth. Pressurized oxygen

connects to the device. The medical provider forces oxygen into the patient’s lungs

by squeezing a self-inflating bag.




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      21. Dr. Kroeger and Nurses Olver and Gilbert-Azure continued

resuscitation efforts for the next six minutes. Nurse Gilbert-Azure ventilated

Venus with the bag valve mask and managed the airway.

      22. One EMT arrived at approximately 8:29 p.m., and began assisting with

chest compressions. The arrival of the EMT prompted Dr. Kroeger to attempt for

the first time an endotracheal intubation of Venus. Intubation involves the

placement of an endotracheal tube through the vocal cords and into the trachea. A

provider must be able to visualize the patient’s vocal cords in order to perform the

procedure safely.

      23. Dr. Kroeger attempted to perform an intubation at 8:29 p.m., but she

could not adequately visualize Venus’s vocal cords. She aborted the attempt.

Medical staff restarted the bag valve mask in an attempt to provide ventilation.

The medical team also continued CPR after withdrawing from the first intubation

attempt.

      24. Venus’s IV became dislodged at approximately 8:33 p.m. The IV had

to be restarted in order to administer medications. Medical staff restarted the IV by

8:36 p.m., and began to administer Epinephrine at 8:38 p.m. Additional EMT

assistance also arrived at this time.

       25. Dr. Kroeger waited 9 minutes after the first failed intubation attempt

before making a second intubation attempt. Vomitus in Venus’s airway obscured

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Dr. Kroeger’s ability to visualize the vocal cords on the second attempt. Medical

staff suctioned this area. Dr. Kroeger remained unable to visualize Venus’s vocal

cords.

         26. Dr. Kroeger abandoned the second intubation attempt and chose instead

to start an alternative airway at 8:39 p.m., with the insertion of a combitube. The

combitube is a “blind insertion” airway device intended to be placed at the top of a

patient’s throat, above the glottis, or supraglottis. The combitube does not require

that the provider visualize the vocal cords.

         27. Medical staff administered several additional medications. Medical staff

also continued to administer CPR protocol for 45 minutes. The medical team

proved unable to reestablish spontaneous circulation or respiration. Dr. Kroeger

called the code at 9:08 p.m.

E.       STANDARD OF CARE

         28. Both parties presented doctors qualified to testify regarding the

appropriate standard of care in this case. The competing conclusions by these

witnesses reflect a difference in their view regarding the appropriate standard of

care to be applied in this case in light of the training and experience possessed by

Dr. Kroeger.




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      29. The plaintiff called Gregory Kazemi, M.D. as a standard of care expert.

Dr. Kazemi is a board certified emergency medicine physician. He has practiced at

St. Patrick’s hospital in Missoula, Montana since completing his residency in 1996.

      30. Dr. Kazemi’s practice provides him with daily contact with critical

access hospitals in rural communities around Montana similar to the Ft. Belknap

hospital. He regularly provides advice regarding the care of various patients being

seen in the emergency departments at those hospitals.

      31. Dr. Kazemi hired a physician in his group at St. Patrick Hospital who

trained at Washington University’s Emergency Medicine residency at the same

time as Dr. Kroeger. Dr. Kazemi has discussed the Washington University

Emergency Medicine residency program training with his colleague. Dr. Kazemi

possesses familiarity with the training and experience of Dr. Kroeger.

      32. Dr. Kroeger’s emergency medicine rotations during her residency

provided her with training in recognizing the presentation of asthma and in

performing the intubation of patients.

      33. Dr. Kazemi testified that Dr. Kroeger violated the standard of care when

she failed to administer medication to relax Venus’s airway after the first failed

intubation attempt and when she delayed nine minutes between intubation

attempts. Dr. Kazemi opined that this delay caused Venus’s death.




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       34. Dr. Kazemi testified that the standard of care required Dr. Kroeger to

have provided Venus with a paralytic immediately upon the initial intubation

failure. Dr. Kazemi testified that the paralytic would have facilitated an intubation

attempt regardless of how relaxed Venus may have appeared.

       35. Dr. Kazemi opined that the standard of care required Dr. Kroeger

immediately to have given Venus a paralytic after the first intubation failure and

then immediately attempt a second intubation. The standard of care required Dr.

Kroeger to have placed a rescue airway, such as a combitube, immediately if the

second intubation attempted failed.

       36. Dr. Kazemi testified that oxygen saturation represents only one

parameter to assess whether a patient is breathing effectively. In asthma patients,

ventilation presents the major problem. Air with oxygen may be going in, but air

with carbon dioxide may not be coming out of the lungs. Dr. Kazemi testified that

failure to ventilate a patient properly may result in heart failure.

       37. Dr. Kazemi testified that bag valve masks may be used to oxygenate and

ventilate a healthy person with healthy lungs for an extended period of time. Dr.

Kazemi warned, however, that bag valve masks can prove ineffective in asthmatic

patients due to the fact that their lungs typically are stiff.

       38. The provider should consider the following factors when evaluating the

effectiveness of the bag valve mask: 1) whether air is coming out of the lungs; 2)

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whether a proper seal has been evaluated around the mouth; 3) a patient’s heart

rate and blood pressure. The provider should know that the bag valve mask has not

been effective if the patient’s vital signs fail or continue to fail.

       39. Dr. Kazemi testified that the main treatment for pulseless electric

activity as experienced by Venus would be to try to correct the underlying

problem, or what caused the PEA. Dr. Kazemi believed that Venus’s breathing

difficulty caused the PEA.

       40. The United States called Gregory Moore, M.D. as an expert on the

standard of care. Dr. Moore is a board certified emergency medicine physician,

and a fellow in the American College of Emergency Medicine. He has practiced

emergency medicine since 1985, and has extensive experience practicing in rural

settings.

       41. Dr. Moore has practiced in Dillon, Montana since 1996, and is on staff

in several other rural hospitals. He also serves as the medical director of a rural

outreach program that St. Patrick’s Hospital in Missoula, Montana offers that staffs

rural facilities with providers of emergency medicine.

       42. Dr. Moore applied the standard of care of a competent general

practitioner in similar circumstances and similar facilities in the United States. Dr.

Moore testified that all of the care provided to Venus by the IHS medical team on

December 9, 2013, met the standard of care.

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        43. Dr. Moore testified that medical staff did not delay in the recognition of

Venus’s condition or in the initiation of treatment. Medical staff immediately

recognized Venus’s respiratory distress when she presented to the emergency

department triage window. Medical staff promptly escorted Venus to a critical care

room.

        44. Dr. Moore believes that medical staff properly initiated an Albuterol

nebulizer within one minute of Venus’s arrival. Dr. Moore explained that

Albuterol is a beta agonist, commonly used as the first line of treatment for

suspected asthma. Medical staff also timely established an IV, and gave

magnesium sulfate to Venus within six minutes of her arrival at the E.D.

        45. Dr. Moore testified that Venus responded favorably to the initial

treatment. Venus became anxious and combative, however, while the magnesium

sulfate was being infused. Venus quickly collapsed into respiratory arrest. Dr.

Moore noted that Venus’s collapse occurred within 7 minutes of arrival. He opined

that seven minutes would have provided inadequate time to intubate before

Venus’s arrest.

        46. Dr. Moore testified that medical staff appropriately provided ventilation

with a bag valve mask after her collapse. Dr. Moore explained that the bag valve

mask represents the primary “go-to” airway.




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      47. Dr. Moore also explained that the 2010 Advanced Cardiac Life Support

guidelines (“ACLS guidelines”) substantially changed the approach to

cardiac/respiratory arrest. Former guidelines placed the primary emphasis on

securing an airway and breathing. With the 2010 guidelines, however, the primary

focus shifted to circulation, with breathing and airway secondary.

      48. Dr. Moore also testified that failed intubations do occur. Common

causes are either mucus, blood or vomitus in the airway, or a patient’s unique

anatomy that makes it difficult to visualize the vocal cords. Dr. Kroeger testified

that the lack of structure to Venus’s mouth made visualization of the airway

difficult. Dr. Moore testified that Dr. Kroeger responded appropriately to the

second failed attempt to intubate Venus by immediately resuming ventilation with

a bag valve mask.

      49. Dr. Moore further testified that Dr. Kroeger appropriately turned to the

combitube after the failed second intubation attempt. Dr. Moore explained that the

combitube is a well-recognized airway.

      50. Dr. Moore concluded that Dr. Kroeger followed ACLS protocol

throughout the resuscitation effort. He further testified that Dr. Kroeger responded

within the standard of care to treat Venus’s presumed asthma exacerbation. Dr.

Moore determined that Dr. Kroeger responded within the standard of care to

Venus’s respiratory/cardiac arrest. And Dr. Moore testified that the actions taken

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by Dr. Kroeger to provide ventilation to Venus after her arrest all fell within the

standard of care.

      51. Dr. Moore seemed to lack familiarity with Dr. Kroeger’s training and

experience. He believed that Dr. Kroeger had completed 18 months of her

residency training, when, in fact, she actually had spent about three years in her

residency program. Dr. Moore lacked understanding of the specific training that

Dr. Kroeger had received during the residency. He also lacked awareness of the

evaluations that she had received in the residency program. Moreover, Dr. Moore

believed that Dr. Kroeger had worked only four shifts at the Ft. Belknap ED before

December 9, 2013. Dr. Kroeger actually had worked at the Ft. Belknap ED for

almost nine months by December 9, 2013.

      52. Both Dr. Kazemi and Dr. Moore testified that the inability to recognize

the signs and symptoms of asthma would violate the standard of care by a doctor

providing care in a critical access hospital in Montana.

      53. Both Dr. Kazemi and Dr. Moore testified that a failure to intubate Venus

before respiratory arrest would have violated the standard of care if a doctor had

recognized that Venus’s asthma exacerbations were life-threatening.

      54. Venus’s asthma exacerbation proved life-threatening when she

presented to the Ft. Belknap ED on December 9, 2016. Dr. Kroeger testified that

she believed it would not have been preferable to intubate Venus before her

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respiratory arrest. Both Dr. Kazemi and Dr. Moore opined to the contrary, as they

believed that Venus’s inability to breathe likely pushed her into cardiac arrest.

      55. The ACLS guidelines provide that a bag valve mask typically represents

an acceptable way to ventilate. The ACLS guidelines further provide that “all

healthcare providers should be trained in delivering effective oxygenation and

ventilation with a bag and mask.” The ACLS guidelines recognize, however, that

there will be times when ventilation with a bag mask device proves inadequate.

ACLS providers also should be trained and experienced in insertion of an

advanced airway.

      56. Dr. Kroeger apparently recognized that the bag valve mask did not

provide an effective airway, as evidenced by her attempted intubation of Venus.

Dr. Moore agreed that the bag valve mask proved inadequate in Venus’s case.

      57. Respiratory arrest represented the underlying problem in Venus’s case.

To correct Venus’s breathing situation provided the best chance for Venus’s

survival. Dr. Kazemi opined that Venus likely would have survived if Dr. Kroeger

successfully had intubated or placed an emergency airway in a timely manner.

      58. The parties disagree as to the appropriate standard of care. Dr. Kazemi

applied an individualized standard of care based upon Dr. Kroeger’s training and

experience, including her residency program in emergency medicine at

Washington University. Dr. Moore applied a standard for a general practice

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physician. The Court need not resolve this dispute definitively as Dr. Kroeger’s

actions failed to satisfy either standard of care.

       59. Dr. Kazemi agreed that the great majority of the care provided to Venus

by Dr. Kroeger had been reasonable and appropriate, and had fallen within the

standard of care. He testified that the initial response to Venus’s presentation had

been appropriate and timely. The IHS providers immediately recognized Venus’s

condition, and timely started appropriate treatments.

       60. Dr. Kazemi also testified that starting an IV, administering magnesium

sulfate, and summoning more help were all done appropriately, and in a timely

manner. Dr. Kazemi further testified that, once Venus collapsed into respiratory

and cardiac arrest, it would have been appropriate to try to restore circulation and

respiration.

       61. Dr. Kazemi criticized the nine minute delay between the first intubation

attempt at 8:29 p.m. and the second attempt at 8:38 p.m. Dr. Kazemi testified that

a second intubation should have been attempted sooner. He testified that the

number one priority should have been to establish an airway. He also believes that

Dr. Kroeger should have administered medications to relax the airway after the

first attempt.

       62. Dr. Kazemi further testified that medications known as paralytics can be

effective in relaxing the vocal cords and muscles around the airway to facilitate

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intubation. Dr. Kazemi opined that Dr. Kroeger should have administered the

paralytic immediately after the first failed intubation to allow the medication to be

effective.

      63. Dr. Moore agreed that paralytics can be used prior to arrest to paralyze

the muscles in the airway if adequate personnel are available. Dr. Moore testified,

however, that use of a paralytic is simply not indicated after a patient is in

respiratory/cardiac arrest. He explained that after a period of 15-30 seconds in

cardiac/respiratory arrest, an unconscious patient’s muscles will be completely

relaxed, because there is no circulation to the nervous system.

      64. Either standard of care would have required Dr. Kroeger to provide

Venus a paralytic immediately upon the initial intubation failure regardless of how

relaxed Venus may have appeared. The paralytic would have facilitated an

intubation attempt.

      65. Either standard of care required Dr. Kroeger to conclude that the bag

valve mask was not working when Venus’s vital signs failed to improve before and

after the first failed intubation attempt. Either standard of care then would have

required Dr. Kroeger to determine that the bag valve mask was inappropriate and

to establish a viable airway immediately.

      66. The underlying problem in Venus’s case was respiratory arrest. The

best chance for Venus’s survival would have been to correct her breathing

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situation. Either of the offered standards of care would have required Dr. Kroeger

to provide an airway as quickly as possible after Venus slipped into

respiratory/cardiac arrest and displayed PEA.

      67. Dr. Kroeger’s treatment fell below the standard of care, therefore, when

she delayed nine minutes between the first and second failed intubation attempts.

Either standard of care also would have required Dr. Kroeger to give herself the

best chance at the second intubation attempt by first administering a paralytic to

Venus before that attempt.

G.    DAMAGES

      68. The plaintiff called an economist, Matthew Taylor (Taylor), to testify

regarding Venus’s loss of earnings and earning capacity. Taylor reviewed Venus’s

tax returns and W-2s from 2008 to 2013.

      69. Taylor initially calculated Venus’s loss of earnings under three different

scenarios. Under “Scenario A” he calculated her loss of past and future earnings

based on a three-year average of her earnings from 2011-2013. Under “Scenario

B” he calculated the financial loss based on her average earnings during the last 32

weeks of her life; during which time she had been employed by the Sweet

Memorial Nursing Home in Chinook. Finally, under “Scenario C” he calculated

the loss based on full-time employment at her highest attained hourly rate of

$11.50.

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      70. Taylor added to this financial loss a projected loss of fringe benefits at

the rate of 5.6%. Taylor based the fringe benefits on Bureau of Labor statistics for

employer costs of employee compensation.

      71. Taylor also calculated Venus’s loss of household and related services

based on the assumption that she would contribute an additional 32.5 hours per

week to household services for the remainder of her life expectancy. Taylor valued

these household services at $10.00 per hour.

      72. Taylor’s initial economic analysis inflated Venus’s financial loss for

several reasons. First, Taylor based his loss of earnings calculations on inflated

average earnings. Taylor limited consideration of Venus’s earnings to the last

three years of her life under Scenario A, and the last 32 weeks of her life for

Scenarios B and C.

      73. Venus’s tax and earnings records showed her earnings history from

2008 to the time of her death as follows:

      2008 – $0

      2009 – $6,443.80

      2010 – $0

      2011 - $11,732.34

      2012 – $0

      2013 – $6,098.71

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Consequently, Venus’s average earnings during this period were $4,046, rather

than the $6,277 used by Taylor for his first scenario.

      74. Taylor next assumed that Venus either would continue to work the same

number of hours that she had before her death, or actually would increase her work

load from 16.65 hours per week to 40 hours per week. Taylor also assumed for

purposes of loss of household services, that she would contribute an additional

32.5 hours per week to household services.

      75. The evidence presented fails to support these assumptions. Venus

suffered from a severe, progressive respiratory condition, that substantially

restricted her activities. The condition had caused her either to be late to work, or

miss work entirely while working at Sweet Memorial. Venus’s supervisor at the

nursing home, Joni Myhre, testified that Venus had missed 20 days of work and

was late 8 times in the five months before her death. Venus’s absences often

related to her asthma. Venus’s illness eventually would have prevented her from

maintaining her employment at Sweet Memorial Nursing Home at the same

number of hours as before her death.

      76. The Court further finds that these same limitations would have had a

substantial impact on Venus’s ability to contribute in the household. Venus’s

husband testified that her activities were very limited, and she sometimes would

suffer from respiratory distress when walking her child.

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      77. Finally, in his initial evaluation, Taylor assumed that Venus had a 41.9

year life expectancy, and a 24.9 year work life expectancy. The evidence fails to

support Taylor’s assumptions that Venus would have had a normal life expectancy

and work life expectancy.

      78. The United States called an expert pulmonologist, Holly Strong, M.D.,

to testify on the issue of life expectancy. Dr. Strong reviewed Venus’s medical

records. These records included a pulmonary function study that had been

completed on March 13, 2008.

      79. Dr. Strong testified that Venus had severe, persistent asthma, and was at

high risk for a fatal asthma attack. She testified that Venus exhibited multiple risk

factors for such an event, including poorly controlled asthma, development of

asthma later in life, frequent ED visits, recent corticosteroid use, smoking, and

noncompliance with her medication regimen.

      80. Even without an acute fatal attack, Venus’s life expectancy and work

life expectancy appear to have been limited. Dr. Strong testified that her 2008

pulmonary function tests showed that Venus already had significant pulmonary

dysfunction and impairment at age 28. Dr. Strong explained that lung function

naturally decreases as we age. As measured in ccs of air capacity, an individual

will lose 20 ccs per year. A smoker will lose an additional 50-100 ccs per year.




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An asthmatic will lose an additional 50 ccs per year, with an additional loss of 30

ccs with each severe exacerbation.

      81. A conservative estimate of 100 ccs per year from the date of her

pulmonary function test in 2008 would result in Venus’s lung capacity being

reduced to 1,870 ccs by age 38 (2018), and 870 ccs by age 48 (2028). At that

point, most people are on continuous oxygen, and are highly impaired.

      82. Dr. Strong further testified, based upon a reasonable degree of medical

probability, that Venus’s life expectancy from the date of her pulmonary function

test in 2008 would have been 24 years or less, and that she likely would not have

survived beyond 52-53 years of age.

      83. Taylor acknowledged that he had failed to consider any of these factors

in preparing his initial evaluation. Taylor revised his evaluation after having been

provided with Dr. Strong’s expert disclosure to reflect a declining ability to work,

and a reduced life expectancy. He used a work life expectancy of 14.26 years, and

a life expectancy of 25 years. Taylor recalculated Venus’s past and future losses

for Scenario A and B using these assumptions: losses based on her average income

for the last three years of her life (Scenario A); and losses based on her income for

the last 32 months of her life (Scenario B).

      84. Scenario A presents the more reasonable situation for Venus. As noted

previously, Venus’s health problems impaired her ability to work. The three-year

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coverage contemplated by Scenario A better accounts for these impairments.

Under Scenario A, Taylor calculated her economic losses as follows: past loss of

earnings - $17,040; future loss of earnings - $41,337; loss of past fringe benefits -

$954; loss of future fringe benefits - $2,315; and loss of household services -

$111,426, for a total of $173,072.

       85. The Court finds, however, that even this evaluation in Scenario A likely

inflates Venus’s economic loss. The evaluation in Scenario A considered only

Venus’s final three years of employment from 2011-2013. The evaluation ignores

the fact that Venus had been unemployed and without income for two of the

previous three years. The evaluation further disregards Venus’s physical condition

and the effect that it would have on her prospects for future employment. These

factors further cast doubt on whether Venus would have been able to contribute an

additional 32.5 hours per week to household services for the remainder of her life

activities.

       86. The Court finds that a discount factor of 40% applied to Scenario A

reasonably accounts for the additional limitations in Venus’s ability to work

outside the house and her ability to contribute household services. Application of

this discount would result in total economic losses of approximately $103,802.

       87. Venus suffered before she died and was visibly anxious and distraught

and apparently aware that she was dying. She is due a reasonable award for her

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pain and suffering. A reasonable award for her pain and suffering is $75,000, or

roughly 3/4 of the total economic losses.

      88. Venus’s spouse and children have been deprived of the unique support,

companionship, and guidance that she could provide. Venus’s spouse and children

have suffered greatly from the loss of comfort, care, companionship, and society

that Venus provided. Venus’s family is due a reasonable award for their loss of

consortium and the care of their spouse and mother, on top of the economic losses.

A reasonable award for their wrongful death and loss of consortium and care

claims is $75,000, or roughly 3/4 the total economic losses.

      From the foregoing findings of fact, the Court makes the following:

                          II. CONCLUSIONS OF LAW

      A.     JURISDICTION AND VENUE

      1. Plaintiff properly exhausted his administrative remedies under the FTCA

by submitting administrative tort claims to the IHS on January 31, 2014. The

plaintiff filed his complaint in this Court on August 18, 2014, more than six

months after submitting his administrative claim, without a final determination by

the agency. This Court possesses subject matter jurisdiction of the plaintiff’s

claim, pursuant to 28 U.S.C. § 1346(b)(1).

      2. Venue is proper in the District of Montana, because the plaintiff resides

in the District of Montana. 28 U.S.C. § 1402(b). Further, venue is appropriate in

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the Great Falls Division, pursuant to L.R. 1.2(c)(3) and 3.2(b)(1)(A) and (B), as

plaintiff resided in Blaine County at the commencement of this action, and the

alleged acts or omissions occurred in Blaine County.

      B.     APPLICABLE LAW

      3. The burden of proof in a civil action remains the same regardless of

whether the finder of fact is a judge in a bench trial or a jury. Cabrera v.

Jakabovitz, 24 F.3d 372, 380 (2d Cir. 1994), cert denied, 513 U.S. 876 (1994). A

plaintiff bears the burden of satisfying the finder of fact that he or she has proven

every element of their claim by preponderance of the evidence. Preponderance of

the evidence means such evidence as, when considered with that opposed to it, has

more convincing force, and demonstrates that what is sought to be proved is more

likely true than not true.

      4. Under the FTCA, the United States is liable for torts committed by its

agencies and employees in the same manner and to the same extent as a private

individual under like circumstances, in accordance with the law of the place where

the act or omission occurred. 28 U.S.C. § 2674. Applicable state law must be the

source of the claim for relief. Trobetta v. United States, 613 F. Supp. 169 (D.

Mont. 1985).




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      5. Under Montana law, the four essential elements of a negligence claim

are: (1) duty; (2) breach of duty; (3) causation; and (4) damages. Wiley v. City of

Glendive, 900 P.2d 310, 312 (Mont. 1995).

      6. To establish a duty and breach in a medical negligence claim under

Montana law, a plaintiff initially must satisfy a two-part threshold obligation: (1)

evidence must be presented to establish the standard of professional care in the

type of case involved; and (2) it must be shown that the physician departed from

this recognized standard in his/her treatment of the plaintiff. See e.g., Gilkey v.

Schweitzer, 983 P.2d 869, 871 (Mont. 1999). Moreover, it must be established that

the departure from the standard was the proximate cause of injury to the plaintiff.

Montana Deaconess Hospital v. Gratton, 545 P.2d 670, 673 (Mont. 1976); Falcon

v. Cheung, 848 P.2d 1050, 1055 (Mont. 1993).

      7. In medical negligence cases such as this, “comparative negligence does

not apply where a patient’s pre-treatment behavior merely furnishes the need for

care or treatment which later becomes the subject of a malpractice claim.” Harding

v. Deiss, 2000 MT 169, ¶16. Venus’s health habits before seeking medical

treatment are “merely a factor the physician should consider in treating the

patient,” not evidence of fault that may offset against any negligent acts by the IHS

health care providers. Harding ¶16. The only negligent acts of a patient that may be

considered in a comparative negligence scheme are acts contemporaneous with or

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subsequent to treatment. Harding ¶16. Neither party presented evidence of any

negligent conduct by Venus during or subsequent to treatment by Dr. Kroeger.

Contributory or comparative negligence does not apply here.

C.    STANDARD OF CARE

      8. Dr. Kroeger holds no board certification. “[A] non-board-certified

general practitioner is held to the standard of care of a ‘reasonably competent

general practitioner acting in the same or similar community in the United States in

the same or similar circumstances.'" Chapel v. Allison, 785 P.2d 204, 210 (Mont.

1990). “‘Similar circumstances’ permits consideration by the trier of fact of

legitimate local factors affecting the ordinary standard of care including the

knowledge and experience of the general practitioner, commensurate with the skill

of other competent physicians of similar training and experience, with respect to

the type of illness or injury he confronts and the resources, facilities and options

available to him at the time.” Id. at 210. A physician’s individual practice,

however, is not relevant to the standard of care. Norris v. Fritz, 270 P.3d 79, 87

(Mont. 2012).

      9. Here, “similar circumstances” includes the training that Dr. Kroeger

received while she attended the emergency medicine residency at the Washington

University School of Medicine and her experience at the Ft. Belknap ED beginning

in March of 2013. As noted previously in paragraph 67, however, the Court found

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that Dr. Kroeger’s treatment violated the standard of care for a general practitioner,

and likewise violated the standard of care for a general practitioner with Dr.

Kroeger’s residency training in emergency medicine.

      10. The Court concludes that Dr. Kazemi is a respected and credible

emergency room physician who is qualified to testify on the applicable standard of

care in this matter. The evidence and testimony in this case supports Dr. Kazemi’s

opinion that Dr. Kroeger violated the standard of care. Dr. Kazemi determined that

the standard of care required Dr. Kroeger to establish a viable airway for Venus as

quickly as possible after she fell into respiratory/cardiac arrest.

      11. Dr. Kroeger’s delay between the first and second intubation attempt and

her failure to administer a paralytic to Venus after the first failed intubation attempt

violated the standard of care, and these violations of the standard of care caused

Venus’s death.

                                       III. ORDER

      Accordingly, IT IS HEREBY ORDERED, pursuant to Fed. R. Civ. P. 58,

that the Clerk of Court enter judgment by separate document in favor of the

plaintiff and against the defendant.

      IT IS FURTHER ORDERED that plaintiff is entitled to such costs as are

authorized by law.




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      IT IS FURTHER ORDERED that the Clerk of Court shall notify the parties

of the making of this order.

      DATED this 13th day of January, 2017.




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